Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 1 of 53




                             Exhibit 172
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 2 of 53




    FA-17 -0222 Matthew Pionk & Zachary Mcbride
                       Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 3 of 53
2 redacted for the following reason:

I, (b)(3), (b)(6)




                                                                                                  I
Case 1:21-cv-01808-RDM                      Document 41-172                       Filed 12/13/23            Page 4 of 53




                                              TABLE OF COl\'!'J."ENTS


       l.     A,l)?l)intmcnl Orde~ 1<.111                       (b)(3), (b)(6)
       II.    Report -0f Prooeedin~ (DA Form t5 74)
       11[.   Finda11gs of 1.o~· !Y-l'tion <111(l 1Roi:,om mt:JJ,:;lalio~
       TV.    JnvestigatLOfl Timelme
       V.,    E~h.ibit,~
              A. Reoon P1at..oon Roster fu F'.to;ccl f{l,mat
              D. HJ-IC l illlliD Debrief in P0V1t"Cl1Pomt
              C. 4/2 SBCT 'Briga.-de SlGACT
              1). J&iU3J')' 9, 200i Brl~                   Di,ity [~Qj
              E. w~
                  ·r 12 .Ri.-port
              r. WTT 12 E.14:pari<icd Writwn Rcpor,t
              G. WIT L2 Ai1t11y~ Pa.w,erfoint prod~ct
              H. n th iEOD Tewn Post Blast Srocyboord
              L    IJc c-r.itfolil, Pec'kct 02..f.t:3-225
                           L             (b)(3), (b)(6)
                                   Stai~ment
                          "
                          .,:..           (b)(3), (b)(6)           d:ete:ntion s;wom s~t~ment
                                         (b)(3), (b)(6)         cfoccntion sworn statement
                          4.                   (b)(3), (b)(6)               S"'OID l:>'lal~eJJl
                          5.              (b)(3), (b)(6)          sworn SlafeifJCT;Jt
                           6. SUJrullill'f Interrogation Report
                           7. Doc·..m.tenl Exploitatioo .iRq,ort for                              (b )(6)
              l    G.-)a.l~.tion Appte~ens[on Form
              K.          (b)(3), (b)(6)              ~,.,..,o,rn SULtemeut
              L         (b)(3), (b)(6)             s~rn li~temetJi
              M.         (b)(3), (b)(6)              :nvo;n stat-ement
                                  (b)(3), (b)(6)    S"'1.'mTI sllat~t
              0. L.aiw E.J1fo:rcernem Perso.0-.J.1.~l Memo w nccrn:ing Op~ratkm Reit"'On Bri,d the
                 results find f r.:-di:ngs of the- ope.ration.
              r. r ·nam;ud r.,fa.bili.ty Investigation of P:r,:,pe~ Loss for Organizatiw..~
                 Pmpcrt.y Boo'· eq;uiprnct!,t
              Q. Finan.e-i:al Liability lm~-stigation of Propc;rty Los:s fm Thea~ P~.ert}'
                   EquipF.1:1e.QJ· Property Book eqlli.pmcr""t
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 5 of 53




ENCLOSURE I




                                                                           I
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 6 of 53




ENCLOSURE II
                    Case 1:21-cv-01808-RDM                                                            Document 41-172                                    Filed 12/13/23                            Page 7 of 53


                                 IR:!l;POIH OF PROC'l                                                                                                                              OFFICERS


                                                                                                   .!.i,s~ON I - Af>Pill ',Jl'MEN'li'

  J.-"P3in1~.c -~,           co1rn'.ii3Ji    er. •1-2 d lr::fetiuy Str1 -~ Bngaii~, F l)TW~rd Ojle'filtilllg B,,~ Weihorae, APO till {193 JS
                                                                                                                    f/i!]ji'~1f:t,1ily ;u,l,llul'll~•!




  ThCi tL"WC!i,~J (!\...">'zi.i                cr.mml!~ced .it          fomv,•e.cd Opc-.ratin~ Base. Nomuw,:;l~·• niq                                                                al                     21J5
                                                                                                                     I l;Jc(;,I
  o-r,            l ] .Jmr..11ary :WIJ.!.!i            f.'f a 11!1;:"~1 t;.-xzrd ... ~,   ,v.· n-.,;,re It.Dr. ~<;!!' =~w. ..J'lj!..._~ helll' L (r11:;~ i;, t!'•i•,..,,•vn.rt' j h9 In-                ,~.:;,:t, :',io',,:,,S11'.trt t ~ ~
  ~n::r~~' (t-q•~- "t'·*'i'!<o;M i:;ritMrit! ,:11111 i!C~~'l!. 3!'1!:i'         ~ IOl!Olll)fl ~, a~;!!e,11~. if &'IJ',} ThQ [1)                 1q~ D~J:;,l)fl                ~ I .sc.::r...:\11";'.s, :oor.-:oa\l war,o
                                                                                                                                                                 ftr"1illl......

  1:llfO:)tlOI.   fllr'l'l1t 1;1,1~'1 llfi.!llll.. i'ldJc.,;l'a, ,.,~~y. 11.~ .• P!Ts,·a·ar.t, "!toro"dor. Memtc,_ L~pal fl.:1,-/isw.J




  ;;-d @mp •~                  iligt •      ,i!L'&-i~ffl!J·llll-s al                                             141}1)
                                                                                                                uomJ

I h. COM?LEllE Ir rill CASEi~
     ln ;f~IJfi,ii ,'p;,.•,1 !M~ AR IS-6)
     .l!.•Jl- 111;Q l~lkr1   1;1 Er.c: c,sc!l and numt?:0111-,j 1:ortS0:1Jt.Y-CJy ..m., Rilman num~~: fili'rat:11!:'tt' ,;-, o.itrJT ,\\::!:>!I)
      ~    Tt.. lellrf o1 ~:J!IO(r.J:_.t or~ !..J'Tlffi.Jl'i' of oral appclnlr.mn! da!D?



     d: ,\ I 2111~ w,il!cn ~~.... !ll'll~li-;,'~ re, ~I Ir-YT! El){: ..,P.:)~·n,nq g~lhQri~'/-
      L•   Pit\'3C-,- /it;I Sl:i!)eff-..ertl~il(;{o-'I)~. ,-/':tfill\l1T"llf:f i'Q••1J1.1i! IJJi'l,.1/y)   r
     f      E°.ii);il llrn~la:)l!I llo'j !h~ l'N~(,grZilQ ~...-~11r c,,• llilDfel f:J ■l'fi,' 1.!1111~UY t!'d~:,.S dinic11~. irri!:;,,..t.arlliel., Dr D!h!!:f ~!!b~.rra.
           -E!"1W(.J'll)ef~d fA.!J., ;;,.,""1fl'l!8 .nfrr.,m'.!~ ;i,I M~'lll1l.SlSDli,t 7




                   $•                    ·-~~~W21"r.SM:•.s mall'                           ll'.   11'I.
                        &I'. l,.',J81;1,'rt,11 N/,,1,!:',:0,1!/M ~Cnsti!!.'l\l;s .i oomt,i, ; ~ M ~~oll' ~ Gll'l:llmstiJflGl!5 d - e ~ I'! t,';it gu~.Stv.'>1' dtd lllll ,:;,,a;~; '1 1111~ .:nLffl!!'l,;,n,;~
                             ~!""°r;/
                Case 1:21-cv-01808-RDM                                                Document 41-172                                   Filed 12/13/23                         Page 8 of 53



       11, Art . i ll!:ff'ri offe!'Ci! J)!,ffll!h!.'1',IM" ,xi n';:;i.'#H~     :x 11t1J1::u.ler.ed r,, ~ ..idt~ infihl ll\1211';' RYIJll:cred Ill" l~llr.r'ild at.
           f::,;nn!:s arii1 l!'1!111:t~ !-1! lhii!i ~17


        c                                                                                                     1)l'    !~   IJ~        wrtt!.1:m rc,.,m and ;U!ached .i~
               ..                                                                                         -
       .ct.                                                                  j . l ~ ~• oll)(cl or ll'il(~'L~'Y !:!11/,:#eri,;i:,J    pr>:>:affilt' Ql/lhenb:;.'!:   am: 111
               ~                                                             •



     ' I. l:s iiai:iF. mRt~ ~i:i.JatlDn au-....::n:1J1.Z.! ~ fl, emtit aro:I ii; i!ltl.!1 "'I ' ~liuuli!Ti;m um·.cr ;cilt.ecd Li.! IW111nq .ird iT..1-:'e an
          u;.J:-lbli ~ tP ll ¥1l!'llNI 'fl IJfQCl:!l7
                                      an~ malla.r ~,~ lilk11n iMlf tr:ii t;A;iect>ro l:d a f!1ji-Ol'l~i!ni tr         ~1:11lll, .&" ~ lllllll!lll er, ~ '!b:: malil:!r
     I·:IJ· It cl:tc!IIJ mu::<11111
                                     1

                              fal l!IO_l_i tr  taiJe;, :allllc.tisd -11st111 6:ii-,,b -JP'li"a :3-1114 A:R" f.!i,lf7
                                            \Illa                                                                                 _




IJ    If afl;' ,,........,., ... ~ ""1!~ ~ ~-,-~me:; !H l'Q ·-r,m;in-:t:.U:rA "'111'El IIDI prcl!llRI lfffler: !tii! ~::i:lll IE"~~ 1Qt'NI ,;;,oi!!{on!ll<,
      <!;li).l!o ~ ,r;ci--.d',t.1: d:,-:...:~ hllN a:-~ fomili.?r~d lhcmllll"'-l~ "Aillh Iha! g,-;-..1:a { ~ 6-.ltl: .~ f!i>aj'jl


!ii - r,ri:1foo l~~~~_r~.i 6.:8. ...ti' :M):
      a. la me melNMI sM i.lS.1!! !'.if a,11....-y 1e :N 3JJC!rtdoll1 ~-4~ri1c:i 111Hoc11 ~ - 111 ,:i:uf='lqi?




11    C.gJ;i ·•       fP.."'"it ~ 1lrf • 5-!iJ,
      .:i.    Was !:.a:;-, res11Dmhmi. r~t11-e'.lerl~~ ltt)( Gttul\.5!.'r'l'




      c H m ••,..,,. r.i::1111:sel v..ic r~ci1,~1ti:e ~I nal ~ a-all;(!H!!, I! :i ~::r, (or tfr!ii. ', a -n . ~                          or I'll r8!lu~~ ~no 1~11
        ;,:!loo lilklll" ro ir.cJUlir.!I in ilte- repll!1 ~"ll a.&, llfl' I~?
1-:1 r, tl\,J -HttY1.tinld-a!IJJi1grxilll'la ti¢ B>::/115« or~; o,,;:,, f"IIJ , . , . ~              r...- ~ ~r imciirt8Ji1y ' "".:i5-7. A."<l 1r..EJ.•
      ;a,. Vi~ the ehli!!er~ l,lf"J.':JR.-1~ W'JIIHf pnd !:) Jha DPIX"C!=FQ,1ll a1lb!Sr


l) Wini Lt-~ fi'tl}ll fi i.li~nl gl             C9~(!ftllr to fpll1? $-lil;I, M ;' !i-ii}; -
      ,1.     Elli pRmlllll                                                    al' the ~rd •~h deal mlh 3J1!' ITU!~ llifll.-'1 ronci:rnij lhllll t~!'Pi!'IUlffi




' .i II r:Dq11Ml.cll1 i;;ld fllJt fll'".Jl d~f a-::.!:ilit ti'~ =~~..: b'1I c!:-Glntn;i !)",hlli!r..ce L, tP::t.S!.l!i~sltm,1Jf lt-e Gll'MIJT"..ir.enl a..d ,r,
      DiTil.!'"11'!1;' "-:r- ~ pr.;e ~~- Df Wllnl!tl~J. [DIiie 5-ilA M fli-~t?
I~ .ia.·&altol l"lll re-sr;1Jn!lcnl":sr,:quL",15 an! oi:~,:.'5·"1h~m,de11tl'd cdo!.l!led                          'l:11'~ ~ fl"'~~ a, ir .,_;
     111C!e~v ~ o.· e)ll;~ P"' D ~ S-,1, AJnS-~7
;c·oo,1tOJ'l!!,S.: j/ &,"WJ/r. ill/ rif:a-,1\11: ,LllSll!l!Fi J. ~n .m.?ciJao1 !il1l:!ilt
                    al Um ,;r .!,h(l, t<IA t;Jl,'"'11.Q ~onsti.\1100!1 lip!I~.,., ~"11!4/1111.1,'IID ,'h.;r .mo Gl'lll)TI!II'- ,:.,azsr;ood m m~ !;'[r.!i!W'1 r,J,\J twJ ~ ill iJ:4 iflnl;.!g,:i..Hi:.i1
                       ,t;rr,~.
                 Case 1:21-cv-01808-RDM                                    Document 41-172                   Filed 12/13/23   Page 9 of 53



Th! {im-iH,1'i{ll!I~ vJrrc-:,J {'ooardJ , ~..aving ,:.-s:eld [y <wilr!St!lete(I !:he e-,ti(lg009, ~ln,;15;
~ee tinar.:lled .rrJemore11-d11rn




  v~ r;f It.I:: .t:tcve fird1lll,'5 ltle- (mllli•S~;'a!i*.f ci\fuor) (l:oatdJ r,e;;.omm:cm:.s:
S~::. a1rnclwd mim.,;:i;:JJ1;;'l!;:rr..
          Case 1:21-cv-01808-RDM                                            Document 41-172                                 Filed 12/13/23                         Page 10 of 53



THI$ .!UBPOR"1 OF ~ROCE:!ill! NGS. I'S CO..\!Fl Li; TS Al'IIO AC.CUA.I,,Tl;. •~ #It}'" ll(J/ing .m:itit08rd!' ill~ t:~'!Je.t fail'~ M Sign ~ ~ .'i1 Se.~ 1lll
,tJIJmw, v.dlc.urtil !hr,- .-._i'llt'l/1 m 1"11l? ~;~ ~ Ms ~ 1 , ; , .sl70t.lA1 &pP9m~>




                                                                                                                                         (b )(3), (b )(6)




Tl> tl'ltl 8i1l6"flt i'tlilteal(:'d in 1inch1&11'-.i ~,..,.,.,.-=--.,,..,.... , '11110: 111r.:lerei9noi'I ..:li:,f.e~) ni.1 a:mcur m 13le hading$ .rni:1 r~11:011m na;itl!Jr<$ i;,F tt,r.- b~r;I.
/fr,, t':re iJ1®S!Jf8, kJe.'ll,j,'y by f.lllfflW e~e~ ~ri&i!S' OO!d}b.r ;r,acam.!mlmroiiC{l irJ wh/<;h Cite di(S.~t,'(,"'9 .llll{!f,l'iQc-,(~ tfo(til~ 11{',t CQ:r.(;l!IT, S~ (t.io
~ ford.\!J;9g,flH','.JW.r.t Atk1.it1!Jt1tiV$tAr.st.~1.1 fmefi.~gs i)l",,i/o, /'$OOl!!tM!'l!J.JfioM m.,y bo lm;J.udcd In tl!o i.q.:;.'oot.lf'6,.J




r11 t aT!"l!)IS '1flll ~Cllflltr16:'i:f~!lo11~ gr IJ'l~ (i,'JVl!'~~trr:,g 1#.i:;~) f~ro? Ml fa.c?OVl!idJ ,~.~c!J' (1¢,1.1'rt.1a/j 11.t'!!l· f~wifl{J e.11~t.'o!t8/
1;um;t'l~Jtior.-s,1. fff 11.16· appo.•,,«rlf! slK!!o.r/ry 1VJtums IJJe r.,'OCft6JJi~ .!co l!w "1wJ~ ~rtf or l'io!inf tor frmJrer ,cfL."ICeedif1!i'.S o.r
et.>t(e!:live ~l'it'N'I, st'.f.11,:..Jt Uutr c.:c.r.r~CYHi~.l'.:e (OI" 1:1 .sz..in,;,mify, ~1 "1'8{1' &S -ei .11tm.i!)arei;t in~$iJ/fi.j




                                                                                                                                        (b)(3), (b)(6)
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 11 of 53




ENCLOSURE
                         III
Case 1:21-cv-01808-RDM                    Document 41-172                  Filed 12/13/23             Page 12 of 53



                                        D~PARTIMENT Of THlE ARMY
                                            IMEADQU-'R~RS. 3D SQU....f.lR(JN




                                                                                                             •
                                            2fl STR.'l'l<D CA\fAl.RV REGIMENT
                                        fORWAIID DPeRATING B/1.Se fllOOMi!I.KD'i"
                                                      M'OJ.I!. 01324
                 l,!QfJ/y w
                 Attnntmn 114

                                                                                                    f ~ rcbroary 1008


  MEMOR.AND~-~1 FOR Comman.der1 4th Brigooe, 2d Intiamry Reginte.-.llt, Fol"Ward Operala:ig
  B.rs~ \\·'~ru;i:r.sc, Irat.J, APO AE 09336

  SUBJECT: Army Keg;ulatiom i S-6 IID·cstlgmio-n Report of fmdm.gs and RecQffiffi~dmions for
  tl:i.e HouseaBorne Impmvised F..xpln.shre De,itce I.bat Res.u~led i:11 tl1e Dea::hs of SFC Matthew·
  Pionk, SSO ~ tvf. Gaul, SGT JoJ:la.Ulim K, OQiii:r, SOT Chri~ph~r A. Sandt:r!i, SGT Z.teb.m:y
  W •"cB.rldc.PC Todd, E. Dlil'iti, i..nd Jntc[prctcr MYh!IIl!lm-1.'d Amir i\bd Al Latif


   I. At appruximarle y 09 235JA}J08, SfC [\.fatih~w Piurak, SSG Stfiln M. Gaul, SGT J.o.:11alhan
  K. T.>o:,jes!", SGT Chris!opheu A. Sander$. SGT Zachar)' W. Md!rid,i; S.PC Toi:!d ]3._Davi:s, l!.litd.
  [ritCrJ111"Cfc;r l\·fuhsmmed Amir Abel All Lat.it; 2.n interpreter empfoyed \\.{di the Tit£n Corpu:rall.ion,
  djeJ a r wour;;ds s is_4a.lra!d during i1:~:mk actlo!Th, The S-oldi~ • and mrterpr~ti;:r "-'t:FC· m,;m~ of i!I
  rei::on pfatoon cl l:laring a 011~ to sci::~re a neighborhood ·i the to,m of Si Mil, JRSMC 89..5,fiO
  63790. A House~Boume il.mpro,..ised Explosive Device (.H.Bllill) ifat.ona1ed u.pon entry of an
  inkrior :room, .kin· ng ~he sh: ·U.S. So[dier.s and the interpreter i:llsJ.analy (See exthlbit B). During
  ihe oo'U~ of my in'"tstigaiion. ! found r.,o ei.i c:rn~ of neglhJenioi:;; ,o;r wro..nidoing. The ~!~
  soldie.~ and oue fat~reter acted .,.,iiliin tluirr lines of duty. compli~d 1.vitlai accepted procedures
  and :g;uiddines,, a.:,d 11S.ed round tac-rica.l methods during the course oflheir opemtion.

  2.     Scrgea:n! First C1~s ~fatl!hcw J. Pi,,;mk v.11.S scniill.8 as !:hi; Ri:coi1Jl.cl.1ssm:u:'.!e Pfatocmi Scr,gcanl
  for Recorutai.ssance Platoi:m, Ha..mmcr Con1pany, 3d Squadron, 2d Suykcr Cav.;;lry Re""' rucn·
  (IR.e,.::.on/HHClll2fSCR). Hi!l: lllatoon was conducting cle1mmce [11 the town ofSinsH. lfa was
  pos,rioned ctr tile roofrop of the house when the HBIED d,gOOnated.

  3. Staff Serge.<i,Jle Se&11 M. C-.a:ul was servi.ng as ~ Brov0 r,cam L-t.adcr fo1
  R.e(;onlHHC/3/2fSCR. His ti;::i1rtl \'l".d;:; 1c.learing the house I.I'll. ti!!e first lluor when ilie HBJED
  detor.rn:cd.

  4. . :=tgi.!-$.C!J't Jonathan K. Doiier ,vas serving '1S the Alpha JeBm l.e..rder for I.he Snmper Sect[o:r:l
  ln .R oni'l:fHC.13;2/SCR. Hew.as on th¢ first floor of the ho1JSi: "'1ito SSG C¼rnl, SGT Sweis,
  SGT McBride, SPC Da1/ S atlll the intapreter \ltile-n the mnED de:tor~ted.

  S.    S,ergca.rn Christopher A. ~di::r.s was ~ing as a Scou.t iD ra¥o Tc.am
  R.-ccoolHHCI.V::USCR Hew.as on the first tloorr when t-~ HB]El.J d.'C'tQn.awd

  6.  Serg>g®_nt be-ha.I)' Vl , M,~Brid~ wa;,~ .s.crvinr; a~ thi;: Radio 1'eLc:phone (.~tor ll'll t=l.raV(I
  Tc~m. Rci;:onl1lliQ'3/1iSCR. He ·was on the firsl f ~ v;rhffl ~e HBU::U detonated,
Case 1:21-cv-01808-RDM                             Document 41-172                     Filed 12/13/23                  Page 13 of 53




 AfZH-BA,LJ
 SUBmc-r: Army Re:guili!!lfon 15-6 1-ovesri,Ba•ion ~port o Findings .r~d Rec-..ommendatlom for
 lhe Hou:;e-ll1;1T"M: Jmpro,.is,;.d ExpJosive ~v~cc: tl:a..'U Rc$,l~f(xj iri th!!: Deaths o-f SFC Matth.ew
 PionJ:., SSG Sr::1.u1J M, G~mi, SGT Jonatl:1~..11 K. umzie.r, SGT Chlristo:pr!li'..r A. Safwler~, SGT Zac~ry
 W, McBrkit>, SPC Todd 6. D;1_11i,•is ru-lid Im.terpten.e;r Muhan-.iffied Ami:r Albd Al L;1.tif
                                               1




 7. Sr,eciali!i-t Tod.cl E. l.l!!!vi:s -.,,a5 s.ervin~ as il!h.e !\1203- Gr-en1J.ciier rn .Bra\·o leam 1
 Rc:c:on/HHC/\/::?.."'•;.ci~. Ht1 ?,ras on th~ first tl1)(11" ·1¥; ~□ lilbe HBIED (k~omnt~d.

8. Muhrumlilea Amir Abdi Al Latif ,;1;-;as an emplayee. ,nif th~ Than CQq,<lrt!t1m1, si;:1:ving ~ ;:H1
hr:c1~.r for Reoon,HHCJY2lSCR. ~-k w1t..~ .acao,mparr.yii1g .SSG Gaul's: squad iin il.b.e.,clea..--ar~
of U1e r..oose. ne W21$ mn the, fir.s: floor v.:tten the HHJED d!etc-nated.

t1.    Or. 4m Jap u.1;:, th<: .K ~i;.-'(l ig Plawon was rra.."tk1Di)il:1f!. iri                      (b)(5)                    of
0il)eration \'Vo]fuack fi3;f\,'eS:t,                                            (b)(5)
                                (b)(5)                                 Their miS'5ijo,.u i!batdC >' ,,,.as tC! dear Sinsi!, ~
 to•,vn k:ieall.ed in Ule ~Q111thc:rn portEOTI o~ 1J;ii;; val I~•- ~~ , plntoou. \VM conductfng ii movet-:taent tu,
con121.d in the neigbborhoo<l of Sins.ii, souith of K.oute· CJ:aro..                "fhit platoon. w--~ led by          (b)(3), (b)(6)
  (b)(3), (b)(6)   t.~    iacoou le:i.de{I', aud SFC Mil!Wtew l. Pi,onk, lh.e PlatO,(llllJ Se17gCa..'l:.t..            oth lcade...~
 were e:xptriencedl \'C1er.:ms emd had c.onducted d c-~n.,g opcwriotlS mu                           !ill terr~m or tl1it:
p-n:,·l-1,1-uij fiv~ .rm.m.th~- The platoo.n's missfon, to d.e.Ub-e.rntJ.y cfoar Sin..~l, 1,1,•a-s i:'l foUow-rJp to
.rtJ)Cra'i.km:; Ori: Of 3.bo1.1t ,30 lcceml1~.r 2007 vvhe~ the to~ was dea'"l!u by dernenlsof l':,sk Fon:e
f~lc~i (sr..-c Ex.bib • BJ.

W. Reoor. Plai.oon e~-tabli.shed a bt-u¢king poiswtion. o Ro-Uitc Cta.ra in the ro·wn ol!Sh;i:!.l! ii11d
di~.m:t;(IJ["ki::d! frofit lh~_r ,,ebi.<:-fos m approilC_im.atily 191200JANOS. Upon rnsm,otimting 1ft-ey • egan
rnrovini s01Utni from ROJuw Clara ,in Ehr~ s~ctions. .A.fte-r Qu(;Stiotlin~ ~~v~ra1 lCl<Cil!l nw.iun~s ;in c.'.-:.ie
l Q',1,'n., 1!.h,:y \\i~'TC a.b~o to idemuy the ~h1,qta:l';                            (b)(6)                           the I OV..'Il,
icader ill_,ndl w~ 1:fi.re:etoo Ito hJ.s ::Wus-e. Re-t,0n Pt~~ol.'.ln -yueslione~ rhe- Muqtar regarding pos:siblc
hn-s,ngc:111 ocfr,•il)· , ithin ilite tov.-n (sec l1xhlb1t I),

LJ.     A fie~ s.e1r·cr-i1.L mimntes of beiing foteno~,:n.ed and questioned by                     (b)(3), (b)(6)    liln:: Mu9w-
sror.ed. that he cou!tl 'In.ow, h~ pl:rtoolliJ th,i;; location of o SU!SPf;ct-e-d /.J Qa.oo.a in Itaq (AQn safe
lhous~. I Bowever, mt ~faqtar bf.:cain.e ahm:.~;;;d a.nd V.\')U fdi l'ot 1'.:1.n.11,;ew illlV fulher llpoil lt::-a,r:i n~ hi:s
courtyiHd ~ si.-~ing t :;            econ Plato-on en masse.                      (b)(3), (b)(6)              Jj,j noll. .find thi~
aclion 1Jfl!1L~ua] bccr:J~!S~ lilUill)' m.qis oficn refrai from being c.'pe-nly r,.i;S'ilcia.t~d mth U.S. foritc:s
                                                                                                              1


for kRr of repr~-sa)s :from locals as~.oci21.te<l 'i-\1ilh tt~filir.!-_jenit,-;-.             (b)(3), (b)(6)               the~
questic-I1edl the ~foqt,:n- h1 tt<tdi::r to pinpoint.·th~ kica'lfo!i; of the s1JSp~.cted insu.rgent cotnp.:runa.
Ute: ~Vi"Uqtar j entLfi'l!'d Oi!e f-OSSi Le LllSIJ.r:l';c QO!lt!f!IJL-Ul'O frcm htt .:t..'Ufiop with (b)(3), (b)(6) and
-se"·er.i.l cJCh~r ;::;;,ddi~ p!i-cscnt.                (b)(3), (b)(6)          .;.:onrfouoo [!iU~!loni.ng d1:::. Mu~t.ar
LbrouillJ, :;m ir..tCIJ)ret~r i;"-OJlCtlfniJ'lf: wh "''tllf'r or ~.c,t he k:m::w if an,yo::ie ~-..:.a~ m d:...e hm.1."lic aud if Lfw::
h~)~JS-c \,\.:i;ii rigged wfth ex:plo.sive.s. The M11iqtar rept.at::dlj' repli:::d 'oo· ;e, chcsr. q1Jr..rk:s (sc
E-;.:ribit l;l
Case 1:21-cv-01808-RDM                      Document 41-172                  Filed 12/13/23              Page 14 of 53




   AFZH-BAD
   SUBJECT: Army Regulation !5-6 Jnve-stigiIDnn Refl'IJrt offincii11,.g:s :l'.ncl Recommend.a fons for
   too Hoo.se•iBorne hi!ipro\.-ust,d Explosive Dt:vcoe that Elc.li-Ulred m the Deaths -0f SFC M~(Cht!w
   p· o.r!k, SSG Sear1 M. Gaul; SOT Jonathan K. 0{'17.icr, SGT Christ:::ipncr A. Sanders, SGT Zadt.ax-1
   W. McBride, S:PC Todd E. 0!:iv·s,, {!lld lnte,tplfctcr Muhamm~ Arrur Aini A.1 .la.ti.f


    l2. V.·hen              (b)(6)      "-\'as: sati.sfieci. ~..{ith the re-$i)OD.Ses from th~ M1.!Qlar. he moved his
   !P~atoon lll) the :l.11Spttte4 ru:iuse (3 8.SMC 89 60 6.1790). The g.llitit !.~ding i.rito tlre col..Lrtyard w.as
   u~n lffitl u.ns;i::c:urcd. T r; woro5: ~For .Sslillt:' were spray-paimed tn Arabic. ~:r.ipt on the- ~ne wi,!l
   ln front of the ihou~"'· Staff Setg'eal'lt Gai'l.'u1 and his: iemtt 1               (b)(6)   SPC McJmdc andl SPC
   Da-..-:s) r.:tlfYed int,;, tr..e ho ·e ~ti invc~ga!e natl o~n~ ~my pos-sib!" pn.··sern::e of ll:lSl.llgeat
   aeu•,1jly. StBITS~~•ei,Ull Di_17.lu an.ii 'tb11, ~ipgr 31e-'Cticm (                             (b)(6)
                   (b)(6)            c:oseJy followed SSO Ga~11rs: itMl into 1.he :ttlru.c'l.lm.:. SfC Pirmk
   fo]lo,,,,,."cd t~e teains, illl ord:!r lO fu.rther as.'i.3st and l!l;;se..~s the !'iitUAtion. (b)(6)
        (b)(6)    mo,.-e.d ocoU!'.ld th~ ,t,:.,urty.a.:rtl k t fw:rth~ir tt'!f\'~igat~ tbc su..Ttoondi.m:g arc~ for cvfdence
   c...f cach;~~ IB'',Jillil-3 12 i:: p<.'rime1er nf lbe h~ S!:IJ!ll i;:ourtyard He directed (b)(6) . anoth&team
   k :!der, rtt- move inm an ~Jacf;-:lt. ho'l5e in order ro cOJltinuc cl1..w.a.nce: op..."1'8,t~ons wfmifi the tow -
   of SinsLI (see E.'l: 'bit K).

  1 . A !\tr l:lpproxim~telr thr-e:Q t.o f(l.ur minutes from the time SSG Ga.'ul eniered the, houre, n.,
  ex,losion detonated across -.he: sow:hw-esrem. pomoo of the srru.tru.."e (see iExhlbiit L). The eri,ti::re
  en!raft"'....e of the ibuildil'.l;g 2:..1.d ro~f coUa.psed as. a li'esull of the b~. Tbe bl~ was d~n,i,:,tcd toward
  the t::ri.ITTmr;;e wh:.re \he rernitinder oft.he Recoo !Platoon \va;s p::isitfoncd .

  14. li.ru11emately afler ti.we dusl and u.t,bris f'f'Om the blast h.atl l:'i~ltlt:d,            (b)(6)     f(iiUlld (b)(6)
     (b)(6) under some- Ciil'Jde:r blocks .i1,ncl r-uikd F1irn !iom 1hi:: T1.1hble. Hr.- promptly irutrtJet{.'JQ (b)(6)
                            aml, ocher Re-con i:,btoon ~nben ,o search for SUJ.'\lh'urs and i:eltow platoon
  members.                    (b)(6)                men peroonally ll!ded in the s~.areh. At. .ii: result of the
  yl~1oon' s i.tn:moruar.e. em.1·.ri!S. the StlfY].",,'ifig mec::1i:Je:t8 of Recon platoon were able to i·e<;,;;iver four
  Soldiers wounded nn actioo (see Exhibit )J). The Sa,ldiets req!!Iiritl8 in::moofa:1.c fi-r;i;t aid w,::m~
  pla«.d o.n .a n-.ook~ evaeualion he it:optcr at [19 CJ m9JA1'.\08, -ii.inch moved f;l: U"Qc:tiy tow;!1ff.d tlM!
  ci.e;arur Leve: m rntid.i,c:al -aii.'-ilicy ]m.:aied ~ k~s:t:ceJ S\ippolit Are-a Ana<::-oooa. Tlil~ tbw
  Solili,en. on th.i.s he!liroptcr were:                            (b)(6)                th.c Joint 'T~ica_l Afr
  Co:ntro~~c. who wms attached no tho::. pta1.cn;m,                                    (b)(6)
        (b)(6)


  l •. The pbloon continued ro se:!J'C and dig for felfow platoon rnembe•.s while. the mci.li-:;;al
  evacuation of the Vt'O-unrled was: occu.rriZil.g. A ~e(,;:i~:d m,edic:~l ,e,,~uation betfoptcr was re,i;i~tcd
  w l.'twve Lhe Kllled i!IJ Action (KIA), Soldiers from the site of thi:! HBIED 1:0 the Mortwll'}' Afihlrll
  Col1..~1ion Priint at L~ A. Anacon,,da. }\¢ 091633JAN09 1 the medical e "<'.l!C:lmtion i!:eticop,ter left t.'k:
  I mmD ~it-e with all t~ KlA onboord. (.see EKWbil D).                                                      ~




  I6. Afic.r lhe KL.-\ had been cv~uated, th~ Exp!ooiv,e Ordinance Da8ft1:,i..i.l (EOD) Cii:i:im dearetl
  the slt.c fo1 the '\Ji~p-ons lnt.eUigcnoe Team (\V!T) 12 Mtd aEs.o fort! e 4ll<!i BOE, 2nd ID SDCT Law
  Eriforr:ement Per-so.nnel (LEP'>i                   (b)(6)

                                                               l
Case 1:21-cv-01808-RDM                            Document 41-172                       Filed 12/13/23                  Page 15 of 53




.i\FZH-BAD
SUB..JECT 1\111:i_~· R~'JJJlmctiln 15-6 iLnves.tigati9n llh::pcm, of Findmg.!l .swJ R~commmd:a.tiions for
Che Hcru.se-B-o~ l.mpro,:i :":>d lExplosi- e De:vice t.1/.i.tt R~!i.1.-Utcd iin the Deatbr3 of :S FC Matthew
Pit,W.ik., SSG s~~ M, Gau!, S(;T Jo~tlum K. ll)o.z.ier, SGT Chrim.opher A. Slliii.ders, SGT Z.ach;uy
 ~ --   kRride, SPC T dd E. l):a-yfo, and lnrer:prele:. Muhammed Amir AliJ A_ Lu.taf                                                   •


a7 Du.ratng lnt' EOD lt'am'.s dearaaa of the siic, 1bf!)' fouoo a le-cc 1_ t cni.Sh ..,..,,1rre <1Widi.~ ic
CD-f:lti,?om1,d and ii!lqulber pi= JJe"a. the 'b~a.'$L l{l(..-mio11- On~ ofiLbe preces reme1r•ed am yeHow
1hrencl, nround tfv.!: v.ire 1111cieatmg me p-ossrbiHty that the, crush ·wi.re wa.s rudden umlil:meath i! pil,i;
of dothes, Manke-:ts or cm-pets_                                                                          -

 l~. Thi:: '8'.)D tcllIT.!.~$ po~,,,ol~ amtlysis sro,ryboard indicat~ that th~ H.BIBD ic:IJ"iThi..t.111::d uf
       ct:'1},iaimm·, with :1P,p;ro1-tiilfililt "Jy 100 pmmds f Lhdmown Bul!k iE:-::plos;iv"e wi r.h {I r:: LL$h
~l•c:;-r
w·i.rc ia.itlJ:!tor 110 ·ail:ed near the e-e-nter c:,f the stru(:ttn:'e i.a,iicakd b-: c~L fllbe;rs; (ou.11d •:1~ ier1Jl-h
w.i:re (see !Exh.ibn Hl

 19'. ' ru;- Wrf rsport ~-scn1x.s ~ expk•.sion i!lS ooi:ng cau9!:d b:· .1 Victi.r:irt Opt.rr&.ed l.r.npti:rvi~d
Ex,i:1l'(ls-iv<: JJ,1r1,oi c~ rVO:.ED} ~oeated i,,,1thi.n 1e h.ou~. The VOJED 'J!!ie,J tmBh wire coa.uec.led w
s:ii.ri.1eral thi11 S:.llell:I liliL>eti: -uuntrtlm.:irs t:'im::lh ii!S propime ti..,b.'\s wiah l:lppftixm:ii-tld>· 1{J{! f'IJ'lJ00°5 of
Horne Made E,'(pk,.shes: OJ ~E). T.e 1.o:tal ~iicl1..crt<;,c colle'-'.:t.cd f.lf 1hc· seem: co.ns.i:sa~d of m,o
pi&tt<! uf c:ru.-c;h ,v:irc, t:wo pj,e,c~ of met~ t ~t, ma)' ln2.·w. be~_n p~ckiod \\oJtb HlvlE, and a pac.kag_e
of r,ressr;;:re B'>'-rftchocr..

JO. TI;ie WIT repc.•rl indk~(~-s Ln&t tht'- '" iFa-r Sale° SLIPJ cO!J.!d :~\7e:- ~r.'ed ,!t.5., .w - ni·ng tr:• loc~s
10 sta}' a~vay.   Th('! rq._i!)f1 futtli~ -~ _Mes tfta.l C~itiio::; Forces had .-.ri.s1ted the houst: Mol.!.ll ten
day-s prio.1 1,u lh:s t::~ i::giL Two 1.b-rty:s a~c-. tnarl 'l.'i!.lit, nfl!iill~t::n:ls Ol;li:lli!:I h.angmgJ; ~-!\T'O~d the hou..~
andl \Jj,'~ ed locru citi~ .rune! 6hik17::',;1 to SLJ!.y irway ifmm the :~tn.JDtu{c (sea:: f.xhib,~ F),

21 . Thor: \1V1T Tt'fHJ-ri is s.1b-su=mtiacedl by the sworn SU..''ltemcm: made :;:iy the               (b )(6)
     (b)(6)    who stat ;d ~tthe chHdren in the village wer told by their pE1Ients Lo no! pl.!)' m;n
tJ:~ abmLloet:xl hu us:e bec:ia1ia$1; it was a "l:,llrl house· ,.,.fa:rc in~urgc:nts. r;:;;ter-cd a;nd de :m~ all t~
i.jmc (s~ E..-..:hibit f).


:tt        .m !Pcbn,1~ l Jth,, 20-38, the· S.::m..,dro11 cood•.;.'(:trad Or.:~aiio:n Rec:orr, which c:c;,nsisted ,a.f a
~vj -itatiou of the HBi.ED btfe .                                                   (b )(1 )1.4a


                                                              (b)(1 )1.4a
Case 1:21-cv-01808-RDM                     Document 41-172                   Filed 12/13/23              Page 16 of 53




   AFZH,BAD
   SUBJECT: Arrn:,· Recuiarimll t:5--n In,1es.tig~m, Report of Fi:1tdings arid R,eC()mmcncb.tmn~ fur
   the Ho~,-B:,)IDC Imprnvis~ E.xplo •ve ~ , ; : i ; 1hat Rcsl!l.ltod in too .Oelrths of S}"C Matthe\lr
   Pi.ook. SSG Scan M. Gaul. SGT Joaamro.i Dozfar} SOT Cfu'isr.opher A San<lers, SGT ~~a.--y
   W, McBride. SPC I ood E. Da.1lis. Md: li.reevxere.r MuhaJlll:led Amir Abd Al lal5!


  2J. The LiEP reptirL (sec: E:xhiM 0) COETIJboni.11.es the rep□flS pre.,iously made by !P..OD and '1'/ IT ..
  The HBIED that cause<l Lhe detorw.Lion L'con:suikd ofHME w:ith pr4;1pime 'tanks, co11J1ec-ted to
  t:rush W'ire pki::-otl unde,r II nig (bidden from :!:iight) am,cl irutra!foo w:hcn wdght ,.,,~ plaoed on the::
  wire ...The IED was: locatEd nn:1 1o a erourad :!lfoor fo1::1d-bis!ari g ~11J1 (rlght w.di 35 you: rue-r the
  h.ol:l.sc . When me explos.h·~detonated.. the e1rplosive material ~"-Olnpo.sed and a large v:01'1:IJne
  nf gas g~1eroted ... 2:roUJttl me e.'ql'los.i ve and rtds.e.d rile pr,essure. The : -elea~ of thiS; press.me
  gc!'lerated a lie:iS?rl cc '.f."Ul~ inst.tie of tbe house and tJ.1c- eneTgy v.~ :a.di etcd i11 (ii spherical pattcm
  o t from the seat ofthe blast. .. The res,uhiing blast paltern/pr~ure bleY. 1)ut to [he sid~s of ih,:
  St,."1!1:.:.hlre d~p:ng the upper mloor (roof) cml{) !he mem~s of the RCQDruraai~.:;;;Mn1:.:e Platoon."'

  i -1. Negiigcricc '.l'le;ther oontdbutcd.to 11or CiUlSQ:i the rlcath~ of Sf (' Pionk, SSG fi:8NI , SSG
  D;:iz.ie-r~SG! Sander:i:,   so·r      McHrtde. SPC DaviE and in~erpreter Muhat11I111ed Amill' Abd Al Lati.t:
  The enemy appeus to have used a weU-hf&le.n tr[gger mecilanism :o initia,te 11 massive
  expl05Joo. This ,1ri,gttr me... r.:Wl.ism and: mitiilltor '1,!taS 11-loced in the cent.et of the room in order lo
  fi.ttthcr ea:ttap Co~lil.1-or,i .Ft.J'C(:5 wh,o rrti~ be serrtclilng '!be ooure.                   (b)(6)
  took the neas~Eli"Y preca:uHcms before having a le-am move fr,ro arid sea:c:h the ~pec.t~ hom:e.
  He asbd Muqt..~                                (b)(6)                     :spe-ci li'i,,111Uy w~her o-r ~ot rl.he ll;.~-,e
  was :rlgged m:th bomt-s- Scrgc:ant Hrst Cfass Pifln_ik snd ~S i-.. C'1ffl.J.I v.'Cre highly-trained NQn-
  Ccmd ~-sioned O tifo ~ who 1AA:>uld MY{:· acted l11 fil;Cordance to t~ military di~. l bcrc is
  n0thjng l di:!:!Crivereu in !:ibe CTJ,'U~,e of my u:t!/esti\gatien t,h'!rt Jr.dicates that they ocfed negiigen!Jy,
  IIT~.Jlmbi]y ior outside- ~,c~ptea !!$;tics, lcx:hn[quel'; Oli p.roce::l.~c:,..

  25. Il"he ame,u.tt o.fe:ieplosh•es used mtn-e, l:IBIED produced! devastin.g effe,:;ts- upon th~ :S{IJdic,rs
  i1llirl. o:rered v~e1,1 !H.Ht: cha.rice of E"Jrvival g~v,e:11 liheir proximity ~o ili-e explosiol'.i. The s.oliiie-vs
  and ar,krpretcr O ::;i tM first fl.Mr of the building mo~ likel:?1 e::-rperi~.1.:ed a ~ Vete. shock wb.ii:.-;h
  ki u~d ithi:n. lllliitlU\W.O~JUSl y. M OTe'\'(.J:', ~ 11::'-J'tpk~iYe power of the ~r:o~i \11!,S ~placed wifi.im:
  th.c ho,u.SlC \i,'()t.td' hsvc further cl:rmmi 5h._--d, a~• c:n£n.re of :sun fr.,•w. fo, Rhos::\ wichm the hot&. A 11
  of the °K.!A wJdji::r:s dt¢d UJ~_J,~9usif

  26. No prooc,di,1r,es ckvdopcd ;pJJ.d .a(iopt't-d for txtffleting ·casualtfi;s fto,m i;;onfta:ried ~~!l could
  ~ve mad ;;i: difference in preventing the deaths o 'SFC Pronk. SSG G~ll. SSG D-OZie:r, SGT
  Sa.nc:ers, :l!JT McBrioo1 S!PC Davis aJlld interprei:er M1:lharmnoo Amit AM A] .Latif.

                                                            (b)(S)
Case 1:21-cv-01808-RDM                                  Document 41-172                           Filed 12/13/23            Page 17 of 53




AFZH-BAD
SlJBJttl": l\rmy Reg1.-1Jat~on 1:5~6 Inv~ ·,awon Report o 'Finrungs and Reoo:r..m1end.~ti-o'.llS for
ti Hoi:isc~Bo n~ impro,;•fS'JJ:d Exploshrc Device th.at Resulted in the ~t.hs ofSFC Matthew
Pfor.k,, SSG S.ean M" Garu. SGT Jor..athan K. Do-zi.er, SGT Cbrist.cl-pher A Sanders, SGT Zachary
\V. McBtld(:'., SPC T-Odd E. Davts:, ar..d Init~reMr 11,.Ibammed Airut Abdi Ati lo.ti!f




                                                                          (b)(5)




2i!i. As !11 r1;;:5ult ofth.(; l-:IBIED. :several Or,garuza~k11JJJ and ·mcatc[ :?Topc-rty Eq1.upmc.1M (TP.E_l
Property 8ook iteJ'lils lrVrre lost{~ Exhibjt P and Q):

    11 ..,:   llLIR'511Ell.f,lm

 ~Rm ~004¢                j 1 00~ -4..~1,..'3$l1 AdllQ!er Re;l ~ 8!lk<t,!                                     1          ~
 ~me fs.ffi ~::at2'.A05SS ~ 5855-01-SJ"·Hi"931 11.~oo-ter-, Yil0Hr~                                           ~        lm:H8
 ~ R m A'349,'.!ru1'.aOMS f :S&!!~l -:!jlll-:i!i'l'i ltl.lld~a- tacgm                                         ~        ll'l'tr.7-S:4
 ~~fl.m l~                I 5B5S-01-ZO.:-Cl611 T00 l.ld'a3 \ffiX                                               2          l'-'000
  Trn..lFi:'11 B1.6 '1~     641~01-5:21i-7~8€ B,~~, Armor OTV                                                  t          !'..'en:
lrn;:iR'TI     oooo~s       ij;l'.;J{l-l;tl -514~'64 e:n;tll, C'!lflltt .aw                                    t        !I-Of!£
 Tm;;i~1i (:1034.5          8~15.-01 ~5'3~ 6500 .Q:Jet/lm~s                                                    2        t,o:ma
  'rrn11~, ()A1 S,0         l)bt5-0'i-m4-lo/.!(V C'.m-(!:t Ho<~ li<uYl'lf"                                    1         N1"<11A
     Ree       EE33"17      6$05 01 1SS.6'Wi C°OlflC'8SS l\til~ell'.c ~                                        5        ll.an.e
 'frrqRm 00li'll71                  s~1s-CN-44,t~2S<l ,Ob-,"t:!~Ftr,~!::l                                     "1        :t-.QTie!
Ttrn_ fi:rt G3S 7 il•~              M~O- D'a ~387.e509 Gi:llleir t ~ [;le Bt!'I
                                                                                               - -~---        1         [No.i~
Arm\'i,Rm QA4-0!i!                  i ~ -ltt-Sif ?-17$-'J Siqht knklrir~- -            cr,o 'l'.xhl           1        1 ?R?4l!!
T~ g fim, J10257                    IU70-0f..C97.S7~ liseJil Slris'I Amis: P                                  2         iNiriei
 1~~ J~~:!04                        ~'£~-((1 -~~~"fl ' Oiru.d~ ~~ &lilshr.                                    'I        ~li;n~
                                                                                                         --
lffit;I Rrr    t'Gii.»              &li70 01 -09"2-ii':5:t7 Kliliftb't ~ ~ t r c ~ 114                        1         t~i,
Ar.ms fln1 M19S7(!                  -:i~§~t-4:n-lCG:24 !o.1cn:> t..r \/lS Ar..~\;-S-1..q                      1        1 !.SG~
P,fi!l'lljflm t<IJ5il8.:'A/1766?8   5855-01,432..CS?-4 Mtiro N ';'IS All!.f' V5- t ~                          1    r   1SJ1D
~Rr.;; ~OS4a ~£6:re                 5f1:5S-01-432..C--524 iliboo I'! VIS AN:.JP"'S-1.:1
                                                                                                              ., r
                                                                                                              1
                                                                                                                        -~
 fmg !'lrr. ,11:.;i;r.zi;:
 ~:m-n Zf:lSJ.6?
                                    :'J415-0,-S19-::.i11 S i'mGIOil:i>SZ•
                                    8,'1.1&(1f;,l'7lf1954 ll'11nuii 0."t ~lh,,..H ..tr"!.:'!                  ,I        riwoo
                                                                                                                        N.it'!<'
 TJflt:IRm T&S~14                   841 f-01 ~19.i"4·::!9 Tr~Arm.,..,Cm'btiMtl L.QI                           j         l'llarc
                                                                                                                   j




                                                                          6
Case 1:21-cv-01808-RDM                         Document 41-172                  Filed 12/13/23                 Page 18 of 53




   AFZH-.Bi~D
   SU8JECT': Anny Regulf!Licm 1:5-6 inv:=sliga1l<lla: Report of Fin.din~; ,im,d RcCQITl;menruiit:ion~ for
   'he Ho~Borne lmpr:;:i,1t11S$d Explosive JA:v.ice-lh!ia Resulte.tt in tft Deaths of Sf C Matthew
   Pimlk, SSG Sea..'!ll M. Gaul, SGT fon111thain K. Dozier, SGT Christophet A. Sanders, SGT Zru:hary
   w. Mc.Bri<le, src Todd E. Davis, and fmerpreret 'Muh.artt.rfled Amir AM Al Latmf

   29. All at.tempts. ~rt mude W rt,,1.:J:Jvet i!ll ,i\rmy m.,d S.olr;lier.s' pC!JSQnal cqu.ipm~l lm;;L due lo
   ahc fiBI!ED ii;tc.i-rl.enn.. Attcn:.pts v.ret"e ma.de !mmcdi.e:tcly on the :i!Hc aft.or the fID l"ED. A majority
   of frie Soldier's: \1,-eapons, fBA, kit, and. clothing wet"t r«-o.,.·!Z'l'e,d during ttiti.s friitial s;:-:aroh, fm the
   humim :remains. J. c folJov.ing !>Wil.1mal)' Court :M~ial Offic,m;, (5CM0s} wcrc z,ppointr;xtl fur
   the foilowm-g Killed ~n Aetion S1lld1eirs:




      injuly , Ccmpmy             Last         F'1rst   R&1k                                     daleffligned       d&WC~
       Kiili     HOC              R~rt        Matmew SFC                                           9-Jan-mi          lS-Jar:-Oe,
      ~  .   I HHC               D,m~r         ooat1ra1 ss,;                                       ~Jan-oa          15-Jan-Of,
      Kl~.         ~c            Ginl          Sea   SSG                                     I
                                                                                                   ~Jan-OS          15-Jan-OS.
      ~            rfiC          Mci,rtdt , Z2cliar1 SGr' I                (b)(6)                  ~Jal)-08         15-JanrOe,
      KIP.                     1 Sa~~rs :llrislopbef SST,                                    I ~JatO!               is-J~
             I
                   H-IC
      KIA          tff("..,.     Lt2'1$   I
                                               Todd     .,,PL                                      ~a~          I   15-JQr ~
                                          j
  I   Kl~.       lrfilRJ          Roy     I                                                        9-Jart-C~        f~JaarOO

  'For all A rr.nv cQ~ipmc.Jl~ los.! j:rn !he HBIBD       0                 (b)(6)           , the C~mpmy E:.xe--euc.h•c 0-fiker,
  ,d, ns wi!fi              (b)(6)         tlte Company ruppJy Sergeant, einsl.ln~ 100%i tJ:ibOUJtta.bilily of
  :.Usc:nsi.th•e idem::. and Anny c,q11"pmcn11 s~mcrated with the mean pla!oon ,and the H'RIF.D \1/<.."'.re
   idem.Hied.           (b)(6)     mi:;fa:t~ li:V.!0 f ml,!l{!,,;;ui.J l i:illbility I.nvv.e~tii~ ~{)!il! ,:;if Pr,o,pi:ny Loss
  (.FLllPfa) for ilhe items idcntifioo that ,•.rcrc m          ost. The organiVltionol J)lop,my book PLIPL was
  amend • aftar Opa-atfon Rec-0n due to ti: rc-cowry of thrc~ k,cnu tQat ,,rcI""c found duriing
  rci.-'sitatfon of ;he HBIED sire. The Engineering Company th.at was on site during Operation
  Reccm worked ",oons~fillrl}' ...movit15 :1rubble Cro.rn lhe. s.-ite. In addition 1tJ il!he bacl'...~ and Bolx.fil.,
  the u.si;: o.f 11 jackhamm~t and w11Cr:::k: :saw wc:te ai!".ribble and implemdlle.d." Al i:ffmts 'tJi,,'efe
  m~d.le by HHC Et) rec,a;iver ~uip.t11ent fri1m lb:; site.




                                                                7
Case 1:21-cv-01808-RDM                  Document 41-172                Filed 12/13/23         Page 19 of 53




AFZH-BAD
Sl JB.lliCT: A.r111y R~latto!ll 15..6 In\.1CS.tigation R.eporl of F1nitirig5 and Reoo-J11Jiil.tmdations fur
-· e: Ho1.1Se~Ron-.c lmpt'0'1'Use.d Er.p,lostve D~vice !bat R~--u.l.too in tJ.~ Doatl:'!ls of SFC Marthew
Pioak,. S.S:Gi Sean M. Gaul, SGT Jooatlru!tn K. Dozier, SGT Chrinophet A. Sande.ts., SGT Z:adia:ry
W. M:::.Bricl~. Sl~C ·ro,dd E. Da·vis:, aritd 1ntetprete:J: Muha.-nmed Amur Abd Ai iL.:tif


:m. ·rrue Pum.t o~·contie"; fo:r ihls memorandlliil is the. ·ndcrsijln{'){), I may be reached at
            (b)(6)            or S!i.PR at                   (b)(6)




                                                                  (b)(6)




                                                    8
Case 1:21-cv-01808-RDM                          Document 41-172                        Filed 12/13/23     Page 20 of 53


                                              DEPARTMENT OF THE. ARMY
                                                   HEADQ'JART1ERS3D&QUAf!ROff
                                                 W $11RYIKER CA'VALRY REGIME.NII'




                                                                                                               •
                                              FORWAROt Oft:RATING DA.SE !NORMANDY




•
                                                          APO AI!: D~2~
               l'IULY ao
               ATTEltlllO"IOI"'


                                                                                                        19 FcbruarJ 20fJi


  MEMOR..JiJ DUM FO CO!m-"'.!lllft-Oet, 4:th Bri~de, 2d Infantry Regiment { SBCf1 Fona.-tirci.
  OpeJitfil'!lg: ~~e \Va:rnnrse, Iraq~ APO AE 09336

  SUA.ffiC'r-: Squadro;ll C001numcf.er Comm(l .ts of Rqi-0r1. of Findi gs for AR 15,..,5 rnvt;sti gatio:n
  Report foi the Ho,ise-Boroe E.-.pUosive De~ic.e tbat Resulted in lht! Deat.~S' of SfC Matthei.,.. Pio:nt,
  8$G Sean M. Gaul, SGT Jo'~th.i!n K. Dcr.cier, SOT Chri$la,pJier A. &mders, SGT Zac .. ,tty W.
   ic:llride. S,1:'C J,odd £. l~"is ~ 1~terp-r:.ter MIJ.ham~ Amir .-:\bd Al L~1:i:f (bJ(6l


  m_   J~i!ve r-e'i.d e•i;ii,ret'!J th.e attacliedl 15..ifi Investigaticm at1.d:

       r[/-)     1 C0.11.cur -..v.iiil the fir.J.fa:ig5 and ri;:;:omn1endati.ons.
           )     L OOJ).(:".U: wilh it.be :flndings   aoo r<::oommendati.oos and make the following commea,ts;




       l   )     I do llm concm, Wtth the- fnndingsand recomrnt:::nthttill1lS for t~te fellowing, ie~sofi(s}:




  2. The point of <:ont..~ for this mc:moG1ndum is:                           (b)(6)
               (b)(6)




                                                                                   (b)(6)



                                                                    t...ommmorn~
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 21 of 53




ENCLOSURE
                         IV
  Case 1:21-cv-01808-RDM                        Document 41-172                 Filed 12/13/23                  Page 22 of 53




                                           INVE~TlGAIl~;QMELI N t;,:


i l,,Jan--08   Nctlfi-!!.:.l .by 3rd Sgua.tlron 2nd SCR XO apt)IJ,l.n!iinig          (b)(6)      ~iAR 5~6 la'.'tsti~tio11
               0   1t;:e'l'


19-Jan--08     Receh.-1ed frfJ'III Sqrntdron .         (b)(6)       , the Villl fui:port al,mg with the HBfED
               S(Orj-'boatd


               Received from           (b){6)     lhe D~tainee packet

21-Jaa-OS      Dlw..lSSed AH 5---6 investigation wi1h Rc,:,ol!l pfa.tOQ1111 lcailcr-,                  (b)(6)


26-Jan-O;R:    RcqueSted a.tli:l receJved recon platoon. rooter .~rom H:HC, 3rd Squadron1 2r:t<l SCR tt-aini.ng
               room
               Requestoo additionail inibrrnllltion rollCl':mlng HBIED i.'JCident ft,om 717tb F.:OD
               CQJT1JtD~ei-


JO-Jan•08.     Reeei voo Brigade SIGACT .and Brigadi: Druty Log fuJm 4/2 SBCT TDC

1~F clr-0-8    HHC, 3/2 SCR submits tv.i'O- Firulncial Llabilil:y fav,esti,-g,ro'.ion cf i •ope:rty Loss to the i S-{i
               ofik-cr lO trn:~JipOfi;ik I~ (Jf :,quapmml inLo the 15--6 in \'t:-stigatiun

               Turned in AR IS-6 Jr"i ncli gs tQ Squadron Legal NCO:                          (b)(6)


7-i;eb-08      ,Ree(:i,.--cd fcc::Li,a.cl; from i:niti !11 .ta....1l 15-6 subm:i:ssiott and told to ,co,m:plete fue report upotl
               l'.be c:omplecioo o,f Operation Re~on's findUJ815

l J-Feb-08     O;ix:nitiu;r,1 Rec.tm, HB.tED ,e\'isiaation oftM sire by Hammer, Engince,;S. EOD. Law
               EnforC(;m~ni P'CT$00.ti.¢1~ :Mu:! Air Fotce ('..anine U:nit

16-Fcb-08      Wa.., w~en a ha.--d copy report ofmhe Law E11foroement Pt.'f.Srnmcl's fl dings ,;;oll('.eming the
               HB!ED rr:visitiiitioo ,;,~ration Operntiu.rt R~.on
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 23 of 53




ENCLOSURE V
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 24 of 53




      EXHIBIT A
              Case 1:21-cv-01808-RDM   Document 41-172         Filed 12/13/23   Page 25 of 53




EXttl:S!T A




                                                         I I




                                                                                aJ
                                                                                .."
                                                                                 .,

                                                                                      ~
                                          T
                                       I
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 26 of 53




      EXHIBITB
(b)(l)l.4a
             Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 27 of 53
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 28 of 53




     EXHIBITC
           Case 1:21-cv-01808-RDM                               Document 41-172                                              Filed 12/13/23   Page 29 of 53


                                                                l. -




                           UOf.)IJ'f l UAf'                                          11osrn1:
                           lfl'JKHO it~                                              EffEV I f'IIE
                              i ff ::,t                • ..,




                           ii"-'-,•: l.;..i .,.- -!l.~ ... :: ..1I,r~1..;.:~ LU!fl,Ji. ....,,u1
                           :: .. j lw;r H..l!il''Y ..            1       Htti.&            ~l:- '\,;.r ,~i-,•-1 ..
                           • r- Hi:,.!:.L ;i-•11 c ~'f Jli'lif 1 1•.                                     -~,i,   u
                           •..i ... ':')(, ~1·i •.:;-~ J~;, t-; L'·• J"TA J111-14
                              1-, ....-.J,;" rn1- -!~.; •II! w • .. ~ .a;lf.;,d .ir,a Lt Iii 1:
                              • ~.= i:-r the 1i1ii:'.i-! J ;ih.£ ;,i '- !::.•J 1,_t::, 1.,tJ!l~
                           -1• ,,...;..   i • i ,:;q~1.;ni=;

                           i IPf·iC:a. - F: i-,,; I '1 J -;i ..'Yl-!'fl                                 Pfl't"!ii
                           h:~c ;o.,: •:tr, -=.,; : ■ · 1J li r (. ';'. i ; .L 3) ~~-- .i...!t
                           •_ _. • .1 :l-1•.)!' I,·:.:- t•Jri. ! i;     thi! f. •· t';,,. \tJI' ■
                                                                                      •j

                           I.of- ~..,. ~ ii1t.,. r ,. .. hl'1 • ,:!1n.g. •rd :i"-.abl·9".
                           :;:_,-,.; ,:· z;iJ-,1~•.: ~ i L1J:~i"' 1-~. ct <::t:.CJ-t:t1·,rt 1~
                           •fr,.'"F"t.. r-. :tnit.~rn,.f. -..~,1~,,.,   'lrrl     l!i:•1""ii,ry
                            fr .. ,::i1t .-1 :r,J e~ :upi,1hil 1:.1,I ="'t"-31'-''"':fill
                           .. r '! l,ll-1. ""411,              ~,i..           I,,     l--11,1••    lfu H1,.; (..,,.. -
                           :,:~ti.:.

                           Ul'l•.1.1~,              -1,- • iJAll!J'= i::-.•-· d~,;.f<t;
                           tt. i: . i':-: • r r:1 iJ·,~ .,~ e i '!' ~ ·• c: •-•rad, ".l.'~
                                 I-!" r;J1::tr't; ,.,,...,, c,.-_I ii ... r Ii l¥~~ .ihJ-h-
                           n-: a•.      ~~·1--1 --C:   pf!ri:•!tbl-e: .;,,-:,r-:.u.:-.:1or,1

                           !JI L'/\.11:.               •-·:-t =
                                                          .;::,_•,,:._t•t.lJ~ ~ 1~,;•;. -.~
                           •J • , "J , , I• .. ;., ff v,r,-r ., ,.. j LE:C:. . - 1, ;;'',"
                            ;.-·.:i -!tl--n , ..t1r"11~•... ;,1"'::i .J~ eJ1· t .I.A .-r1d
                           i'.;::il'!' t~1-: .. t:. r~ ,1r:1 ..1r,'11 On~..; ~·; 1...:-:-;•t:-·
                           1     ~h      11_,  '<I-   w1r rt.~. fli t ·-r-.::.:1i    ~id
                           ;-~1'- n ! r ::~,~.::~.1r--~f t:, h: 'i..'.!if-.~I i:-TC-



                           , ;;-r. .-!r                t:·      L (.-~.~ .,Al'-tl)~ -11- I h,J. l•f•
                           ~ ~,l ;.-.~ •~4~,                     r.,, ... ::, l- :::..'"!.~ .:!: •.. ,cr,_ th~
                            . [_f-:, ~'

                           ...,·P( A,T~                ~~ ) .; i;. 5 •J.::Af K•~                   ~t,c !• •r i :
                           "I·   r .•. r,,,,, I r      ?,.;a.        ~   t·1   1   -tlr"t ---11- I 1•·~.'

                              1e::i,_ ~T=· r:-'i;,- f"r.11.;,·,,1nt..1 t 1n, -~ 'th-~
                            :.:.e1!':1'lt'f•'.i•n J;,;j,.;•i;. f;.ri~'f
                            :.t.•r..n-111•:;1.:;12~ ,:: ► r!!:!r•.:.P-tie•~ •• ... t1 11 ,.
                           ... -!   !! .. '"" !                      ,.,,~..       n-, u lr-1 .3 .. 1.:r·, :-; o:f hn· '-'




                                      ,:;:F ~~:.~..             f~.:..:-1=..-.:•: :j -::-: l\s:l~-3·1
                            l,•i,1     --t,;iJ,.of'Jj            •       . r l1HC'i',      lt,.,f. ,J
                           ~r~.?1-::r..J1.r.:?: l~tt 2i'rrt,                   r't-t::rn-i' bl,;Q,;i1r-a             Jr,d
                             ., ~ ,1 • .I
                           _:::i·1 •. 1;&.i;i; ,,                        q_,1 l~t~r::I ~c,,•..·-t.:r
                           -,:-11-:•r· ,,. ._ l···=-· i1.•,1f-: .;hr,'?i J'j""'•    111,!ttltf ..
                            <l!d, , ;:•..i~k•t ~ '=-F-j•• .-.1~u~ 1n•·i..-,
                           :1.1r-~...-t ·1-1.i hr;i;a~ r.l .. ~,;ii~A-= I
                           4iri1       •ii1;,H•lr,, JC"i..i-r'--a: t-1 r'l-,a.. f~ -. r" ■ !-if. I

                           -;.,-Flt;,.:.,,,·.,                                     ; .. 11,,       ►•     r-
                           1 I -: Fri. !'.in i LA




eXHISITC
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 30 of 53




     EXHIBITD
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 31 of 53




                                                                       (b)(6)
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 32 of 53
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 33 of 53




    EXHIBITE
Page 34 of 53
Filed 12/13/23
Document 41-172




                                        ::.:
Case 1:21-cv-01808-RDM




                                        ...''                                                                  .!::
                                                ....
                                                ;.::
                                                ....
                                                :i.:
                                                           --·2:                        r
                                                                                        :,;,J
                                                                                        .....
                                                                                        ;_zJ
                                                       =
                         ,d;
                         :/'"
                         :,:
                                                                                        E:
                                                                         ..:.   ..:     ·-·
                                                                                        ....,
                                                                         7      z       :r.              :..
                                                                                .....   J~
                                                                   ~
                                                                                ....
                                                                                t--,    ........,.....
                                                                                        .-.
                                                                   C            c;:
                                                                   L:J          tL      ,..L
                            EXHIBIT E
                                                        -:E :z;
                                                        ~-
                                                        i__j
                                                                             ·~
                                                                                     ~,
                                                                                    -:.,1
                                                                                     i;:
                                                                                     ~
                                                                            ~:?!
                                                                            = .i:..~
                                                                  -; ~ -=            .:J
                                                                  ·-
                                                                  :.   >    ~!       s
                                                                            - -
                                                                            :.-.i    ,J!" ,
                                                                                       '
Page 35 of 53




                                                                            .,
                                                                                              r::;
                                                                                              ~      a
Filed 12/13/23




                                                                                              :.; 5
                                                                                              ~ ~
Document 41-172
Case 1:21-cv-01808-RDM




                                                ,.L
                                          ,_    :....
                                          :!J
                         .,,...
                                          i=
                                                                                                         ::::::.
                                  .:;;;
                 Case 1:21-cv-01808-RDM                                 Document 41-172                          Filed 12/13/23                    Page 36 of 53

 ~.I l ~rn,:-m II"'"~ l 5.I KS ~H. lN7.:'.:l (1~5 i,;._\                                                                                                                                                   P.t~.         • f,


h.ave :1 h,r S..11,.: "'•!.~11 ~LIi lhl! h,i,;.d-: 1li1,I ,\.11·1, CT 1101 111 ~•1 itl. H H) di.::m.:Ll thi--; h~!u•:L! Hrs1 hi.:l'Ni.: 1n1(ip~ Mi.!114 in.
IL i:,- n.:1,:om11H!'tiJ!.:"u llm!. l'l .11,L)I:. l.l,r im.l.irntur.s .sm:h ,1!-. freshly p-ainl...'\.I J m Sak· si:gai:,. ur ,my i;i~m- ·1~,t11ti11g k11•.:.iJ!; m t;L~}' a!iW;{I,)' 1-:n~my fr,ra,;L;:,
con1inum1sly lry It-:, -('..:ll!}itrd1:;,,;: i::'IP 1,11r Tt"P:s. 1,, in1,.:]ui..lc pf;~CiJlg it~m~ of m1cr..,:5~ onL m Lile o,p~n i -c:. ~Ltc:h JL';. su:c.pi:c,,;;ius. ..-:m1Lei11ier:; koo1.1,·ing ch~14
\\ IJ   ,rrn im \t!Stig,Ui.; ~ud I j lems. )L i~ ,t.11u ,t:'t'i."1Jll11111,!]J(lt:J Llu1l EOD do.Jar L~ll~ h(.lU!.e I ILJ I l'Wi'Lj til' Slt',J)l,.11,; t~tl of lJ.::::[ffLg bo1.1by ,, ;1ppor!, ·ml,'! en C:tlJ'\
lmc1,.o.s h.:rwc ~n I:'!· hccn lmc,h!· drappin.r ah:;ind.nni,;d ll111~~s ,h;1t ,.,,..;.1.; ;~lrc:id) ,h:ilr.."tl h:,· Cl·;·. Lt ·i~; 1el!-i4·1 rcco11u11L·nJ~Ll CF lrn.1k ~·cry dus.d.)'
bcfon.: t.i.-t.:'P,11jllb!, tiu fllli:J.!i ur c.:111J..:~(.'>Ll ,,m,1:,;, frn:- cru~lnt."1:1. win:. 5u.spici~,us item~ lik•: ixr>lw;n~_\:;,_ 1)r Oti.:!ill 1· 1.1111.~ln~c:t·•: lhill .ir~: l)kici,;d HJ.IL in 1l 1i,;
op-en rr,sr he ho11l-i~• irns-•f'{::d th•~mo:;i;;:L\'t'5 or krld tt► 31Pndii.;r ty1:i..- ( ,f VUIFD



I.WVl.f'.5", l>A'l'A

l)l·'VI( ·1-: 1}1-:S.< ·1~c1~· 1·1(H...;- 1IHJlh I ,ll•W ti11laf d1v·idcd in :<:,;;pcinte: cm11m111,::-r:c;. c.111:'ih wire.

M< m~- Not Rcpo11~J

1•t ,it\(· I-.M1-:I\ T : Kcmc: ~-el cc,i:xl

IL.OC 1\ l'ION H111ldmg - LJno1.x:upu;d

CON 1.-\J.NJ-:R N(,n~ Sc!ij--ctcd

i\Cl"ION E'AKE\:: Pos1, Bl~•~•

1lfl\V DL:V!CE WJ\5 FOUND . De1-t.1n.ili1111

 1,1,· II O I Ol ND 1J L:V lCI            Ui,;rm►LmE~-


 F.XPI OSIVF. F!F l·Ef'T: Bllil:..I.

C1\SU/•,f . l'J.,__8: 'Ve:-.

SI.H '[[)I l)f-'VfCi·: Ko

 FIRST H l:SPrn,nFR T,°'RGE l'H)· "~"'

 PO-t;T BL \:1-il Y('"-.


 fik :l•'F:'ll·.I BI l:.JJ l ~-li',1-l l:HH)-L!J.,\ NO&. hLm                                                                                                                                                    2/4,,'21)0 l<
Page 37 of 53
Filed 12/13/23
Document 41-172




                                                                                               :J
                                                                                              ,.
                                                                                              .-
                                                                                               ~
                                                                                             :::r::
Case 1:21-cv-01808-RDM




                                                                                     j,_,
                                                                                    -=
                                                                                     '.J
                                                                                     ,.
                                                                                    :f:
                                                                                     C:
                                   ....                                             7
                                                                                     C
                                                                                             ......
                                                                                                               0
                                                                                                               w
                                   .::::::   -0
                                   ~           :;J
                                              ~
                                               P,J
                                             u        .....,                        ,,....   ,....             ,,,,.,
                                             ::r..    u,;      .;::_
                                               laJ    r:....
                                               ~
                                                               -...
                                                      L....    L.
                                                      t:..!
                                             j,
                                             V:
                                                      .::::
                                                      i:.:.:
                                                                                                               a
                                             ..J      C:
                         r
                         ,....,'             .< :z.;z,
                                             !.....
                                             LJ
                                             CJ

                                                      u.;
                                                      L....
                                                                       z   z   -z                     ,.,,.,
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 38 of 53




      EXHIBITF
       Case 1:21-cv-01808-RDM                               Document 41-172                         Filed 12/13/23                   Page 39 of 53




            lED Dt::s.a::ription: VOWU u::;inl_i L'r1,1sh~d win:- c,i:innci..ti::d tn ::V.:\o.!ra] 1hm shi:1..:1 n:~rn
            ::ixtLi.1irL~1~ such m:1, iJ'r0p,mc t:mk.;, C"Jr ,sornetfong, .!lt.:.iik.11 wi~h appro:xi111.~tcl".
            1                                                                                                               I IJOlbs ,;.1f
            fll\.ff.

            Alm Pnim: \JONr:, O~SERViED




            h cl~. U1l g Ja,m::i ~· tr'! ('l ,,,,r::rc proridiO£ i, pTC'S\'ncc p1~tml in ne Lown. of Litrn.' Sin:stl
            when Lht:y ir~ci.:n l~d im.;I from u:.c M1.1.b11 ~bo:.1L AQl li,tt1g a h0usi; !i!~. ,\,I(rns
            8\17:.1:_l c\? ·8.; A muml 13 l 5• l.BD on 9 J::inu.ary fl8 m<."111 bl!r:;. rroi'.!~ ( iC 32 SCR ar,d I LN
            im1.~i:pn:cer \~ C-111 1{1 l!f1\·ll;'st1g:;irc: r.he h.ouse wh.en ir.C IH) de1>nl'.uleu. • b:: (lmsid,e {J f th=-
            hnu~o.! wa. rna:rkt-d \\ ith a fr~hl~ paint.:"d ·rou Sale' s,g.n ·wlm:h \\D!'. SJ1 i:1".Llic~cu1 10 :oc:JJl~
            il, srny i'i\\·ll>:.
                         CF fo •1ov,;cd nornml rrr •:s ~\ llj le d 11,ri n~ th~ hoLL'it::. vi1t: :'>..J uad ;JJ,or1g with Lhc-
            i n11::rpn:te1 rnt'll:r,.xl 1ilc hQuse :.im.l t:li,;:::J.Itu ll,e firn flnnr \\-}di~ I.hi: St:o..:und s,qu.~d .;mcr..;d
            aTJd ..:1..::-.u~cl. Ute second tlnor. Crm:I.!' the h1)1J&!! was cli:;a(c:d Lhcy stu.ricd ,e~•,·~s•i!?tdn~
            lw. . l,:ing f1..1r a.11y ,::\ idcncc llf rr.Le. tm AQL llic ir.dh~kh~,k;. \,1..-r•~ ijl LlL!!: ln.lll:K
            .1ppmximat1:l~ 4-5 nfnnt.:-~ wlr.~n pri-u-rco Llw tt{plusl 11.
                           EOD wcrlc, L'{i cni:.!ih wLr~ .at Lh!.! !$'1;,enii' t,nich ind1c,;J1i..-..; th~ ci..p:1..,si,;.1£1 rnay h,wc
            hci.:11 ~•,c~im opcrJ'Jed Ollo,. p ccc nl CfLL'ih ,,•,ir~ 1',,a!I li.rn11.d out.sloe: th::- cornpnu,:J l\,h.iJ~
            ~1ni..,ll1,:::r w:;.1:;, t"mu1d m.:.:JI rb.. bl:!bl lc~Lio-n. One of lli~ pieces Tcin~vi.:d had si::im,:, KiL1 of
            rdk ',},,' thNai:J •nJi.:.ilin~ thac tiw cr..ish win. v,;, s hiui.l~n LrnJi:.r a p\k r,f dn1he:s . bJ;[mk,ets,,
            1r •~-:.UJ1t.::l rile cn1.~h, "· ire Wilii ti.HltlC-tted 10 S.Otl'C 'iOrt 4) r thin ~hc~t mrJral com;;iiucrn !' Lio..:b
            pnipam: ta.nts ~•l ·,1.>rnc1hmg. .,:n~ib;:- wilt a:ppw~,h~)atcl:, OIJ[t,s C': I!ti,1fL

             \1K1}SB           lhi::.,;;im~ hc,use °\\<l~ vii::ileu (ij'(\l.)f.li..( l~~ll (it,~~ l!l;:l,1 b~ CF. At·-tnmd t\.V(f ct~;1•s
            ..1L'\c:w~11 ds. 1\C/I m1rtccl h;;ing.i nf u u. i::lt Ehis 1lOll~~                I 1')(; :1l c'.ltiz:<:m:: 'N.:-se ,1,ru-neu b) :V) I
            Tl~)l [U ltl~)I,,, at ii.hi,:! ,Kti, ity tt~kin1 rl~tl.ol!' d'l 11.hm. rl':-..jde.~ot:' Child.rep wnn :rmrm-:1ll~ iJbi1) iff
            :Llmc~J ·,,.~·J :u111~.{:.~ ~, lire lol .I f 11 L m g,o m this ,..)n~.
                         ·\ stmi.;:ir im:kli.:;)t f'Ol- plri;;::- .;1,1 lv1(i RS 7. 8 5 \[C.,::::6~-616507 ~1 Jn Hii-nbu:-. •,1 hen:
            Cl 1n,·~.st1g8Lc<l a ;;LL.~pit.inu~. li.OLB~ ~nd ~-ivc, ,veC"l.:s lilt•=r 1Jte hNLSt' 1.~·at. bcob~ 1rap .cJ
            wilf> crus.h ·,,,;ir:: c □nn•::o ·L~tl 1u propallc ~lflks wh1e;h 1m • J. a-::ti,at,:;; ,J lC:C' di::: ,rk,or 1.1a-,.,
            11pi::nt: I     I lri:F. h\)1.1sc <li<l mtl ha1c- ..i, 'I or Sole· sign h,lL th/! l;.1.::als d.kl 1,1,.un CJ? npt tc• ,t;u in.
                on .   kar~,J t d .. t.·l1Ll5.!' tirsl bd"u,1-c ttt'LIJJS 1;\.,:J) 1:fl
                        [; JS r,;,,-.;:m1 n1ended Lh.11 l.J" look foi itt, li:;.w::rr- S\J..:h as ln:sh;y p-i.1.iln0d ·r,-..r :S,,c·
            s1~r~. '-1l' .j]Jly s1~ni:; W'1min.ci lornb w ~1;1.:, il\Vi:1)          J-,nc·my fn~.:s ;;nntin-:.mu:sly tr} lo
            npiL,.di✓-.t' u11 c•llt   tTIP. 5 to in,;,:lu,k pfa..:i.n~ Lt1:n.~ ..:if inieiesl m1t in the .ip::-11 i.e. :suti1 ...ts

                                                     --.a•..{ RETiREl. n_~ .\. LO\ 1  en
                                          n 11:,;: , 'I l)i{."~rT-NOT FOR DlSlRID.C. Tl(}\



EXHIBfTF'
Case 1:21-cv-01808-RDM                     Document 41-172                     Filed 12/13/23                Page 40 of 53


                                        St:-Cl-U::T·'RF.1 TO \1Cl "l •: ltJXJ
                                Tl ns lS A Vlt.\..FT-1\C)l fOR DISTRIBCTIO'-

     ~u ..p1cicms conwinl.!rS kno..,,,fog thal we will imre-.stigalt' s ch itcnl-5 It 1:; 81lso
     rcc-(lmrncridcd that EOD ctern· :my ltG".l!-C that nv.1y bl' 5uSpt tc-d of 1~:ing 1:-1:iob;,· lrnpp-~~J
     The , : ncmr fon;e.,;; h.:n:'>'e su far been boob) lrnpping Dtil!!ndcm\."tl hu us.~ s that were ,ttl r~ady
     \'isitt:d )' Cl· ti 15 ;,.!so recommc-Ltdeu Cf look Yer:, clo~~l)· r-~fun.: l>tepping on igs or
     r.:a.rpdi:u are,1s for crushi:d wtrc-. Suspi..:iom ieens, like r.:-xrl(l:-::i, c~. :u lit't~Lc1l c-onrniru::r::.
     1h01. :m~ pla(t:d Olll ln ch~ open m.iy b.,: o,nby lr-..1pµ,ed t.:xmsclvc!- or kai.i 1o snulhL'r t~ pi.:
     of VO!I-IJ.

     E\ fDE:!'-lCf- 2 i,:;ac pi,:;:::c.s IJI cru_,;h,._-<l win,:. 2 \;ar,;h pte-.;cs 11' mctc1.I that may ha~·i..· bi. ' n
     poc ·ed with HME. i.1.!11.l l ea.-ch ~ack:igmg for pri:-s.sun: switches




                               THIS I~ \ D·l{..a.J='T -"JOT FOR ms·1 RJHLIT!ON
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 41 of 53




   EXHIBITG
Pages 50 through 57 redacted for the following reasons:
                                              Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 42 of 53
(b)(l)l.4a
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 43 of 53




   EXHIBITH
              Case 1:21-cv-01808-RDM                         Document 41-172                              Filed 12/13/23       Page 44 of 53



~
ro
;:;
:J;
                                                                104th ORD BN (EOO)
                                                                (117 th E,Q D/ TM 2-2)
                                                                                   1




                                                                HHC 3/2__SCR l     (b)(6)



           091235JAN08 , PBA/Booby Trapped House, 38S MC 8956,0 62790
             MTE Tll',lc G~OUP                                 TYPE:; OF Fl!P~f;:11' J ,r..n,-cK                                  ~GRS ,GAJO LOC.11. TION'

           Sl,G ACT#: 4/2 01: 127                          CIONE#:     CCIR#:
           KIA.:                                       1 l        WIA:
           HBIED attack on CF.
           Type              ll'l'f81TY,i!,I   Dlshme€1         CREWiypa                                  CREWSl!:.alu$   AdtUtiO!lli'!i AtmllJ!f   PIR Oofoat   other Sig1t.
      #                      O~,;;w,nee        ltatl71 le0                                                                                                       £quip,
                                               S:Uv

      1:   NIA               NtA               NIA              NIA                                       NIA              NIA                      NIA          NIA




                                                                                ti"'   l'I.   A   I If·    ~
 Case 1:21-cv-01808-RDM           Document 41-172        Filed 12/13/23      Page 45 of 53




                            Narrative/Background
 Team 2-2 FOB V!Jflrhorse ISO ~I'?. SCR responded to a Pcn;t BlasL at 38SMC 89560 62790
  On 9 J.an 08 , lh e Recon PL T from 3t2 SCR conducted. Search and Att.a.c.k IVO Sfns1!. The PL 1
  fcUowed RTE CleHranoe and the CO i'AC NE al:ong. route Clara. VVhen they reached Sinsil, they
  en,gaged LNs on the west side of -to·wn . but got vsry little i11formati<m1 (their asse:;;.sme111t was that the
  lo ca Is feared reprisail tor working with CF) .
  At apr;>roxr'!l_ate!y 1200, they d1sm~united and be:91an movmg ~outh ?long th~ center~ine Footpath.
  They 1de~M1e.~ the ri.,iuqt~r by talking lo loc.all ,n abonals and as.ke.d h•rn auest1ons .abouit tt1a town alild
  the location ot any AO IZ ,n Ll"le area. The M:uq;tar,               (b)(6)          'livas adama.nt that there
  W@rn no ACJI Z in- tnc arez.i and that the tovim 17ad no problems_                       (b)(6)            the
  Muqtar's neighbor initially corroborated this report, but after further ques.~ionBng said he knew of 01'11t;;l
  l1ouse that AQlZ was l.l:smg as a 11.safe house I traini~11q area". He sahj lthat he would lead Recon Lo
  the house, but- once he saw the PlT :stand ing o,utsid,s , he got nervous, and ref11..rned tio ,g,u1d~ them to
  t11e house. T his· ber1avJor 1s not abnormal i11 areas where AQlZ has a per~i-ster1t J;>resence, $0 it was
  not se em as s!l.1spic1m.1s. Recon asked 1f (b)(6) c:ou1d point out the house from li'lnere they \1m re and
  he said he could from a rooftop. He pointed out the house to an i11terpr~eir from th~ rooftop ,o f 17is
  residence and did not accompany the PL T to the AQIZ 1·1011.,1 se. Rec.on nnmted to the house th at
     (b)(6) paintm:J, out and rmtir:e d writing 011 the wa[I that said the r1o l m e was for sale. Re,con en.temd
  and cleared the hcLrse a.t 38Sfv1C 89560 62790 and ·11ere preparing to e;,cpa11d the search wh on thf"
. ho1Js1'3 e::<ptoded.

                                         Conclusion
 re am Leafi er eshrn@tes that tl1e IED co nsisted o,f sev-eral containers with approx:irn ately ·l OO lbs of
 UBF,; tcital with a c:.ru ~lh w,rn 1n1tiator located nerlr the. c€nter of the structure due to carpet fibers
 fou nd on crush wire.
Pages 61 through 68 redacted for the following reasons:
                                               Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 46 of 53
(b)(l)l.4a
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 47 of 53




     EXHIBIT I
                         Case 1:21-cv-01808-RDM           Document 41-172   Filed 12/13/23   Page 48 of 53
Pages 70 through 96 redacted for the following reasons:

(b)(l)l.4a
Illegible, unreadable.
Case 1:21-cv-01808-RDM                                              Document 41-172                                Filed 12/13/23            Page 49 of 53




                                                               10( : \   H 'r'.!..i
                                                                         FOB\
                                                                         ~.ow
                                                                         l.◄. 'Hllli t\   J.., p;


                            llOl.

                                                                                                    ...1 n::       n.:.   II·       •; 11'   I

  I,                        L   •                                                                              l    I       I I




                                                                             (b)(6)

       It,,':   I   r1   1I I




                                        .t I ;·       I

                                                          I.
                                    I    Ill




                                                  I       I

                                             I'
   '       l
Case 1:21-cv-01808-RDM                                                 Document 41-172                              Filed 12/13/23   Page 50 of 53




         I< • .,                                                                        (b)(6)
                                                       - ---
         t-l                                                                 ' ' -
                                                                           ; I




                                                                                                         111


                                                                                            (b)(6)
                                                                       ,
                                          .       ,J


                                                                                            r
                                                                                                .,.
                    L                 I       I
                                                                                        '
                                                                                   I•

                    l         I                                        ."l       . .2 ~1
                                      ;-i. •.              . ~)
                                  '                    I




               ,,

        ,i , , L
             I I          I I
                        [',
                                                   {t                                                      (b)(6)




                                                                  ,.                         (b)(6)




                                          .J                                                          (b )(6)

         i ll' .. I



        r.
Case 1:21-cv-01808-RDM                                              Document 41-172   Filed 12/13/23    Page 51 of 53




     ti   11 I

                                              {b)(6)
                     I   I
                                                                (b){6)                                 {b){6)
                     • . i.1

 lro•


                                                    iI




  ' [.      : . : : L:~

                 '
                 l       .     I•
                                    (b)(6)
                                                ~      .I     \.,




                                              (b){6)


                                         II




                                                            .. '-L• ,J -.o 1HI:
                                                            f 'lf ( f II 11 t
                       Case 1:21-cv-01808-RDM
,ges I 00 through 102 redacted for the following reasons:
                                                            Document 41-172   Filed 12/13/23   Page 52 of 53
legible, unreadable.
Case 1:21-cv-01808-RDM   Document 41-172   Filed 12/13/23   Page 53 of 53
